235 F.3d 63 (2nd Cir. 2000)
    RAPHAEL BIGIO, BAHIA BIGIO, FERIAL SALMA BIGIO and B. BIGIO &amp; CO., Plaintiffs-Appellants,v.THE COCA-COLA COMPANY and THE COCA-COLA EXPORT COMPANY, Defendants-Appellees.
    Docket No. 98-9058August Term, 1999
    UNITED STATES COURT OF APPEALSFOR THE SECOND CIRCUIT
    Argued: November 1, 1999Decided: December 07, 2000
    
      1
      SEE AMENDED OPINION AT 239 F.3d 440.
    
    